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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


SUSMAN GODFREY LLP,

                Plaintiff,
                                         Civil Case No.: 1:25-cv-01107
     v.                                  Judge Loren L. AliKhan

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

                Defendants.



          PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
                  DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       Defendants’ motion to dismiss goes to great lengths to distract from the indisputable truth

that prompted this Court to temporarily enjoin the Executive Order: the Order is a blatantly

unconstitutional effort to retaliate against Susman Godfrey for representing clients and causes that

have angered the President. Remarkably, Defendants barely acknowledge the Order’s stated

purpose of inflicting multiple severe disabilities on Susman to punish it for supposedly

“spearhead[ing] efforts to . . . degrade the quality of American elections”—that is, for representing

Dominion Voting Systems and state elections officials in defending the integrity of the 2020

election. Order § 1. Defendants instead offer a muddled assortment of insubstantial threshold

procedural arguments, and go so far as to deny that the President acted as a sovereign in issuing

the Order—even as the Order marshals the vast power of the federal government to drive away

Susman’s clients and hobble its ability to litigate in court or even meet with federal officials. There

is no denying that the President issued the Order to punish a perceived enemy—something no prior

president has ever attempted. This Court should not countenance Defendants’ effort to shield it

from judicial review.

       Defendants’ attempts to evade review on procedural grounds are meritless. First, Susman

unquestionably has standing. Considered both as a whole and provision-by-provision, the Order

expressly aims to inflict immediate and irreparable constitutional, reputational, and economic harm

on Susman, and it would self-evidently do so were it allowed to go into effect. Those injuries are

directly traceable to the Order and redressable by this Court—as the TRO order confirms. Second,

Susman’s claims are just as obviously ripe. As the Court has already concluded, the Order chills

the firm’s speech and advocacy and punishes it without due process. Those here-and-now injuries

give rise to a concrete legal dispute for which no further factual development is necessary. Third,



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Defendants’ complaints about “shotgun pleading” are borderline frivolous.               Defendants’

arguments about whether certain defendants were properly named likewise ignore black-letter law.

       Turning to the merits, Defendants’ conclusory contentions that Susman has failed to

plausibly plead its claims are equally insubstantial. The Order is starkly unconstitutional in

multiple respects, and Susman has adequately pleaded each element of its constitutional claims

under well-established law. Defendants, by contrast, offer up a smorgasbord of astonishing

arguments, including that representing clients in court is not protected speech, Mot. 21; that the

President may brand disfavored political speech as against the national interest and direct the

Executive Branch to take action against the disfavored speaker on that basis, Mot. 30; and that the

Order’s sword-of-Damocles provisions cannot be unconstitutionally vague because they are not

criminal, Mot. 10-11. Even worse, Defendants argue at length that the Constitution imposes no

constraints whatsoever on the President when he acts as a contractor, proprietor, and employer

rather than as sovereign. No court has ever accepted such an outlandish proposition.

       It is important not to lose sight of what Defendants’ motion to dismiss asks this Court to

do. As Defendants would have it, the President can—without any statutory or constitutional

authority—issue a punitive executive order that seeks to destroy a law firm in retaliation for its

past representations of clients and causes that the President disfavors, and no court can do anything

about it because the Executive Branch has not yet filled in every detail of the retributive scheme

or fully carried out the Order’s unconstitutional commands. This Court should not accept such

brazen defiance of the separation of powers and the rule of law.

                                      LEGAL STANDARD

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556



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U.S. 662, 678 (2009) (citation omitted). The Court must “accept the plaintiff’s factual allegations

as true and construe the complaint liberally, granting plaintiff the benefit of all” reasonable

inferences. Sickle v. Torres Advanced Enter. Sols., 884 F.3d 338, 345 (D.C. Cir. 2018) (alterations

adopted).

                                          ARGUMENT

I.     DEFENDANTS’ THRESHOLD ARGUMENTS LACK MERIT

       The motion to dismiss devotes considerable space to contending that this Court should

ignore the Order’s blatant, repeated violations of the Constitution and instead dispose of this case

on threshold grounds. Those contentions should be rejected out of hand.

       A.      Susman’s Complaint Is Not a “Shotgun Pleading”

       The government’s lead argument, that the Complaint is an impermissible “shotgun

pleading,” is frivolous. Mot. to Dismiss (“Mot.”) 3-4. 1 “[D]ismissal under Rule 8 is typically

reserved for complaints that are so excessively long as to be unmanageable, or so poorly conceived

and drafted that it is difficult to decipher a coherent, viable cause of action.” T.M. v. District of

Columbia, 961 F. Supp. 2d 169, 175 (D.D.C. 2013). But the Complaint here is focused and

organized, and its length is a product of the fact that the Executive Order flagrantly violates the

Constitution in so many different ways. Further, the Complaint’s practice of beginning each claim

by stating that “[t]he paragraphs above are incorporated and reasserted,” e.g., Compl. ¶ 141, is

standard. Indeed, the government often does the same thing. See, e.g., Complaint, United States

v. LLM Placements, No. 23-cv-2190 (D.D.C. July 27, 2023), ECF No. 1. And courts in this District

have blessed that practice where, as here, “[e]ach count includes additional allegations that make

clear which of the broadly applicable facts specifically pertain to that count.” Maynard v. Melton,


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  Notably, the government does not seek dismissal on that basis, but rather purports to “reserve the
right to include in any follow-on briefing additional argument or bases for dismissal.” Mot. 3.

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2021 WL 6845008, at *4 (D.D.C. 2021), R&R adopted, 2023 WL 1963919 (D.D.C. 2023).

       B.      Susman Has Standing to Challenge the Order

       There is no serious dispute that Susman has standing to assert every claim set forth in the

Complaint. To establish standing, Susman must demonstrate that it faces an “actual or imminent”

injury caused by Defendants that is redressable by this Court. Lujan v. Defs. of Wildlife, 504 U.S.

555, 560-61 (1992) (citation omitted). The Complaint easily satisfies those requirements. 2

       1. The Order injures Susman. Indeed, that is the Order’s very point. See Compl. ¶ 101

(Order is part of President’s campaign to “go[] after” the “crooked law firms” that have represented

clients and advocated for causes the President disfavors). As Susman has cataloged before, see

Mot. for TRO (“TRO”) 13-15, 39-43; Mot. for Summ. J. (“Susman Mot.”) 10-13, 40-43, and as

this Court has already held, the Order would badly harm the Firm in myriad ways if it were allowed

to go back into effect. Tr. of TRO Hearing 48:20 (Apr. 15, 2025), ECF No. 19 (“Tr.”) It would

chill the Firm’s speech and advocacy. Tr. 48:25-49:2; Compl. ¶ 133. It would deprive the Firm

of its Fifth Amendment rights. Tr. 49:3-8; Compl. ¶ 133. It would sully the Firm’s reputation.

Tr. 49:8-20; Compl. ¶ 134. And it would inflict significant economic harm by driving away

Susman’s existing clients and discouraging prospective clients from retaining the Firm. Tr. 49:21-

25; Compl. ¶¶ 135-38.

       All of those injuries are directly traceable to the Order and are redressable by this Court.

The Firm’s injuries flow directly from the Order’s direct attack on Susman. And a permanent

injunction against the Order’s enforcement will protect the Firm from the devastating

consequences the Order imposes. See Lujan, 504 U.S. at 561-62 (when “the plaintiff is himself an


2
  Susman has made the necessary showing both by plausibly pleading the requirements for
standing in its Complaint and through detailed evidentiary submissions. See United States v. Emor,
785 F.3d 671, 677 (D.C. Cir. 2015) (“A district court deciding a motion to dismiss on jurisdictional
grounds, such as standing, may consider evidence outside the complaint.”).

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object of the [challenged] action, . . . there is ordinarily little question that the action . . . has caused

him injury, and that a judgment preventing or requiring the action will redress it”).

        2. Unable to dispute those basic propositions, Defendants attack Susman’s standing to

challenge certain specific sections of the Order: Section 3 (regarding government contracting) and

Section 4 (regarding employment practices). Defendants are wrong. Susman is just as injured by

those sections as by other portions of the Order, and that injury is fully redressable by this Court.

        a. Section 3. Contrary to Defendants’ arguments (Mot. 17-20, 23-24), Section 3 harms

Susman. It makes clear that any government contractor associated with Susman can expect

economic reprisal and other penalties in short order. See Order § 3; Compl. Ex. B (“Fact Sheet”)

(“[T]he Federal Government will terminate contracts that involve Susman.”). It does so by

directing agencies to “require Government contractors to disclose any business they do with

Susman and whether that business is related to the subject of the Government contract”; to “review

all contracts with Susman” or its clients and “terminate any contract” for which “Susman has been

hired to perform any service”; and to “otherwise align their agency funding decisions with the

interests of the citizens of the United States” and the “goals and priorities of [the Trump]

Administration as expressed in executive actions,” including Section 1’s express finding that

Susman’s advocacy is “detrimental to critical American interests.” Order §§ 1, 3.

        Susman has standing to challenge that set of punitive directives. As to Susman’s existing

clients who have government contracts, Section 3 seeks to force those clients to sever or cut back

on their relationship with Susman by requiring them to reveal any business they do with the Firm,

which may well not be public information, and by threatening them with loss of government

contracts that are almost certainly important to their businesses if they maintain their relationships

with Susman. By the same token, Section 3 seeks to deter prospective government contractor



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clients from retaining Susman for fear that doing so would risk unacceptable restrictions on their

contracting work. In either case, the loss of clients and business would have a direct impact on

Susman’s bottom line.

       It makes no difference that, during the six-day period between issuance of the Order and

entry of the TRO, the Order did not (to Susman’s knowledge) result in Susman’s loss of specific

existing clients or in cancellation of any government contracts. See Mot. 19. To support Article

III standing, an injury must be “actual or imminent,” Lujan, 504 U.S. at 560 (emphasis added)—

and here, both kinds of injury exist. Section 3 inflicts actual and immediate injury because

Susman’s current and prospective attorney-client relationships are chilled by the very existence of

the Order. Section 3 also creates a “substantial probability,” Cato Inst. v. SEC, 4 F.4th 91, 94

(D.C. Cir. 2021), that Susman will imminently suffer serious economic harm. Clients have already

inquired about how the Order will affect Susman’s ability to represent them. Declaration of

Kalpana Srinivasan ¶ 70, ECF No. 51-3. Prospective clients looking for representation may factor

in how the Order could impact their case when deciding whether to even contact Susman or

proceed with an engagement. And other law firms targeted by similar orders have lost clients as

a result of government-contractor restrictions identical to those at issue here. See Declaration of

David J. Burman ¶ 29, Perkins Coie v. DOJ, No. 25-cv-716 (D.D.C. Mar. 11, 2025), ECF No. 2-

2 (“Burman Decl.”); Supplemental Declaration of Bruce M. Berman ¶¶ 6, 8, Wilmer Cutler v.

Exec. Office of the President, No. 25-cv-917 (D.D.C. Apr. 8, 2025), ECF No. 16-3 (“Berman

Decl.”). Indeed, those restrictions’ devastating economic consequences help explain why nine of

the country’s largest firms agreed to onerous settlements as a means of avoiding Section 3’s

sanctions. See Compl. ¶¶ 109-10, 116, 119-20, 123.

       The government’s argument that Susman “has not demonstrated standing to challenge



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Section 3 insofar as it regulates [the Firm’s] clients,” Mot. 17, likewise fails. The economic harm

that Susman faces depends in part on existing or prospective clients’ decisions to find alternative

representation—but the Court need not engage in any “guesswork” here “as to how independent

decisionmakers will exercise their judgment.” Murthy v. Missouri, 603 U.S. 43, 57-58 (2024); see

Cato Inst., 4 F.4th at 94-95 (acknowledging that standing may exist where “injury arises from the

government’s regulation of a third party”). Clients that depend on government contracts will “react

in predictable ways,” Murthy, 603 U.S. at 57-58 (citation omitted), by taking their business

elsewhere if Section 3 is allowed to take effect. Accordingly, there is at minimum a “substantial

risk” that, unless Section 3 is permanently enjoined, “at least one” Susman client will depart or “at

least one” prospective client will take business elsewhere. Id. at 58. Article III requires nothing

more.

         If the government means to argue that Susman lacks standing to assert the rights of its

clients, that is also wrong. Because the attorney-client relationship is of “special consequence,”

lawyers have standing to challenge government action that “materially impair[s]” their clients’

constitutional rights—particularly where obstacles prevent the client from “advanc[ing] his own

rights”—as well as to challenge restrictions on their clients’ access to counsel that interfere with

the lawyers’ practice. Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 623 n.3

(1989); U.S. Dep’t of Labor v. Triplett, 494 U.S. 715, 720 (1990). Here, the Complaint alleges

that Susman’s clients’ constitutional rights are materially impaired: Section 3 infringes on those

clients’ freedom to associate with Susman and unconstitutionally conditions their contracts on the

requirement that they fire the Firm. See Compl. ¶¶ 168-81. In addition, clients face obstacles in

coming forward themselves to sue, as doing so would require them to disclose their relationship

with the Firm—a central component of the harm that Susman seeks to prevent. The Complaint



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also alleges that the Order restricts clients’ right to counsel and thereby interferes with Susman’s

practice: the Order makes it cost-prohibitive for Susman’s government-contractor clients to retain

their preferred attorney. Defendants assert that the Firm “never explains how [Section 3’s]

disclosure requirement would . . . make it impossible” for the Firm “to represent its clients,” Mot.

23, but impossibility is not necessary to establish a right-to-counsel violation, and Section 3 does

far more than impose a disclosure requirement. The Fifth Amendment forbids “arbitrar[y]”

interference with clients’ ability to “secure counsel of [their] own choice,” Powell v. Alabama, 287

U.S. 45, 53, 69 (1932), and Susman has standing to claim that Section 3 violates that rule.

        Finally, it is irrelevant that Susman has not alleged that it is itself a government contractor.

See Mot. 19-20. As discussed above, Susman is severely injured by the Order’s effect on Susman’s

clients, including the threat to terminate “all contracts with . . . entities that disclose doing business

with Susman.” Order § 3(b). That inflicts harm on Susman whether or not the Firm has contracts

of its own. In addition, the wholesale exclusion of Susman from federal contracting is one of many

ways in which the Order slanders Susman’s reputation and thereby damages its prospects for

attracting business. See GE Co. v. Jackson, 610 F.3d 110, 121 (D.C. Cir. 2010); FCC v. Fox

Television Stations, 567 U.S. 239, 256 (2012); Kartseva v. Dep’t of State, 37 F.3d 1524, 1528

(D.C. Cir. 1994). The Firm has independent standing to seek relief from that independent harm.

        b. Section 4. Defendants’ attack on Susman’s standing to challenge Section 4 is equally

meritless. That provision specifies that the Order “shall [not] be construed to limit the action

authorized by section 4” of the Perkins Order, Order § 4, which directs the EEOC and the Attorney

General to “review the practices of representative large, influential, or industry leading law firms

for consistency with Title VII,” Executive Order 14230, 90 Fed. Reg. 11781, 11782 (Mar. 6, 2025).

        Defendants insist that Section 4 does not injure Susman because it is a “mere[] cross-



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reference” instructing the EEOC to do what it “is already . . . supposed to be doing” and has not

yet resulted in any EEOC action against Susman. Mot. 24-25. That simply ignores the multiple

ways in which Section 4 harms the Firm. Section 4 sends a clear signal to the EEOC and the

Attorney General that they should train their gaze specifically on Susman. Indeed, the Fact Sheet

accompanying the Order states that the “practices of Susman will be reviewed under Title VII to

ensure compliance with civil rights laws.” Compl. Ex. B (emphasis added). Section 4 damages

the Firm’s reputation by (falsely) indicating that there is some special reason to believe that

Susman, as among many “large, influential, or industry leading law firms,” Order § 4, has engaged

in illegal practices. Section 4 also has a chilling effect on Susman’s First Amendment rights

because it effectively requires an investigation based on viewpoints Susman is perceived to have

espoused and in retaliation for the Firm’s protected expression—and even a “credible threat” of

an investigation that runs afoul of the First Amendment is sufficient to confer standing. Chamber

of Com. of U.S. v. FEC, 69 F.3d 600, 603 (D.C. Cir. 1995).

       C.      Susman’s Claims Are Ripe

       Defendants’ ripeness arguments (Mot. 15, 28-29) are likewise unavailing. It is well

established that “Damocles’s sword does not have to actually fall” before a plaintiff may seek

relief. League of Women Voters v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016). Rather, “a case is ripe

when it presents a concrete legal dispute” and “no further factual development is essential to clarify

the issues.” In re Al-Nashiri, 47 F.4th 820, 826 (D.C. Cir. 2022) (citation omitted). All of

Susman’s claims about the illegality of the Order, which was issued weeks ago and took effect

immediately, readily meet that standard—which is exactly why the parties and the Court agreed

that the case could move expeditiously to summary-judgment briefing. E.g., ECF No. 27.

       1. a. Susman’s First Amendment claims are fully ripe. This Court has already concluded

that “the order chills the firm’s speech and advocacy,” thereby inflicting an immediate, here-and-

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now injury that presents a concrete legal dispute. Tr. 48:25-49:2. And the Court has already

recognized that the Firm’s claim of impermissible retaliation for protected speech is similarly

concrete: it requires no further factual development because “the retaliatory nature of the executive

order is plain from the language of the EO.” Id. 44:23-25. The same is true with respect to

viewpoint discrimination as well as violation of the right to petition and the freedom of association.

See, e.g., Tr. of TRO Hearing 79:15-20, Perkins Coie v. DOJ, No. 25-cv-716 (D.D.C. Mar. 12,

2025), ECF No. 22 (“Perkins TRO Tr.”) (“plain language of Executive Order 14230 confirms that

. . . government officials are attempting . . . to punish and suppress views that the government, or

at least the current administration, disfavors”); Tr. of TRO Hearing 49:1-5, Jenner & Block v. DOJ,

No. 25-cv-916 (D.D.C. Mar. 28, 2025), ECF No. 10 (“Jenner TRO Tr.”) (“[T]he reasons the

Executive Order gives for its sanctions against Jenner . . . are viewpoints.”).

       b. Susman’s remaining claims also do not turn on future contingencies or require factual

development. The government does not dispute, for instance, that whether the Order violates the

separation of powers presents a pure question of law. Nor could the government seriously contest

that the same goes for Susman’s claims that the Order was imposed without due process and is

void for vagueness. Once more, the merits of those claims turn on known facts about the Order’s

timing and text. Infringements of the Fifth Amendment right to counsel and guarantee of equal

protection are also apparent from “the plain language of the executive order.” Perkins TRO Tr.

92:5. After all, the Order’s plain language gives rise to draconian punishments that threaten

Susman and its attorneys’ “ability to provide effective assistance of counsel to their clients,” id. at

92:21-22, and “target” Susman without a legitimate purpose, Jenner TRO Tr. 51:3-4.

       2. a. Defendants contend (Mot. 27-29) that Susman cannot currently challenge Section 5

(which addresses access to government buildings, employees, and employment) on the ground that



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the provision merely instructs agency heads to “issue guidance,” Order § 5(a), which has not yet

occurred. That argument is meritless several times over.

       As an initial matter, the argument does not apply to half of Section 5. Section 5(b) directly

limits the federal government’s hiring of Susman employees and requires no guidance or other

imminent step for that limitation to take effect. See Order § 5(b) (“[a]gency officials shall . . .

refrain from hiring employees of Susman, absent a waiver”).

       Section 5(a) does contemplate issuance of guidance—but that subsection itself gives rise

to a concrete dispute right now. Section 5(a) mandates that agencies “shall” issue guidance, and

it states in no uncertain terms that such guidance will “limit[]” Susman’s access to federal

government buildings and federal government engagements. Order § 5(a) (emphasis added). The

White House itself has acknowledged as much. See Fact Sheet (“[t]he Federal Government will

. . . restrict [Susman] employees’ access to government buildings.”) (emphasis added). Moreover,

Section 5 directs agencies to limit Susman’s access to ensure “consistency” with the “interests of

the United States”—and Section 1 finds that Susman has engaged in “activities inconsistent with

the interests of the United States.” Order §§ 1, 5. The Order itself therefore already makes the

finding that determines the scope and effect of agencies’ guidance, effectively requiring agencies

to restrict Susman’s access. The directions in Section 5(a) are thus an immediate and severe blow

to Susman’s ability to attract and retain clients, which depends on Susman’s unfettered ability to

appear in federal forums and engage with federal personnel. The concrete harm imposed by

Section 5 is why this Court issued a TRO enjoining the provision’s enforcement. Tr. 48:20-50:15;

see id. at 50:10-15.

       The experience of law firms targeted by similar executive orders further refutes

Defendants’ argument. Even in the brief period before those orders were temporarily enjoined,



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agencies began implementing them. See Compl. ¶ 140 (noting that shortly after the Perkins Order

was signed, OMB and the EEOC issued implementing guidance). In fact, after the orders issued,

some agencies did not even wait for guidance before they began cancelling scheduled meetings

with attorneys from targeted firms.       See, e.g., Burman Decl. ¶ 26; Berman Decl. ¶¶ 4, 7;

Declaration of Thomas J. Perrelli ¶ 70, Jenner & Block v. DOJ, No. 25-cv-916 (D.D.C. Apr. 8,

2025), ECF No. 19-30.

       Thus, if Section 5 took effect, Susman attorneys would be facing the certainty of “limit[s],”

Order § 5(a), on critical federal access that would impair their ability to fully serve their clients’

needs. And even mere uncertainty about the services the Firm could provide, or could commit to

providing in the future, would have wide-ranging negative effects on its business. Compl. ¶ 137.

Those harms qualify as concrete and immediate injuries and create a ripe controversy.

       Moreover, the factual details of government guidance on exactly how to “limit[]” Susman’s

activities are not required to adjudicate the merits of Susman’s challenges to Section 5, because

the Order contains all the specifics that are needed to assess Susman’s claims. As noted above, to

be consistent with Section 1’s findings, the forthcoming guidance must limit Susman’s access to

federal buildings and federal employees based on the Firm’s First Amendment protected activity.

Nothing more is needed to establish that the Order commits a raft of First Amendment violations,

see infra at pp. 14-25; that it deprives Susman of its protected professional and reputational

interests without any process whatsoever, see infra at pp. 25-27; that it baselessly intrudes on

Susman’s clients’ right to counsel, see infra at p. 31; and that the President lacks any statutory or

constitutional authority to inflict those penalties on law firms, see infra at pp. 32-33.

       In short, as this Court put it, Section 5 makes clear that the government is “taking actions”

adverse to the Firm. Tr. 34:3-6. “The degree of those actions, to be sure, we won’t know until we



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see the guidance.” Id. at 34:7-9. But we know enough already to be certain that the Order, and

the guidance it directs agencies to issue, is necessarily unlawful many times over. See id.

       In fact, with respect to Susman’s First Amendment claims in particular, Section 5’s promise

of future limiting guidance does not make the constitutional violations more remote—instead, it

exacerbates the problem. A mere “credible threat” of government sanction can chill protected

expressive activity in violation of the First Amendment. Chamber of Com., 69 F.3d at 603. And

Section 5 is more than a credible threat. Although the Order makes clear that the forthcoming

guidance will limit the Firm’s ability to represent its clients and cause economic harm, it leaves

the exact extent of the damage unspecified. Section 5 gives agency heads discretion to tighten the

sanctions as much as they please, until those sanctions are “consisten[t] with the national security

and other interests of the United States.” Order § 5(a). That conveys a message that is both

unmistakable and ominous—while the guidance is pending, the more that Susman engages in

representations the Administration disfavors, the more severe a penalty it can expect. It is hard to

conceive of a scheme more clearly designed to chill protected speech.

       b. Finally, Defendants’ brief argument that Susman’s challenge to Section 2(a) (regarding

security clearances) is unripe until a “clearance suspension is accomplished” and “reviewed” and

a “further security clearance determination [is] made,” Mot. 15, makes no sense. Section 2(a),

which “suspend[s] any active security clearances held by individuals at Susman, pending a review

of whether such clearances are consistent with the national interest,” Order § 2(a), is already

unconstitutional, regardless of what happens next. The Order directs the suspensions to begin

“immediately.” Order § 2(a). The forthcoming review and ultimate clearance determinations

cannot cure the fact that Susman employees were singled out for additional review and subjected

to additional procedure based on the Firm’s protected speech and its viewpoint, without process



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of any kind. Accordingly, no factual development can change the outcome here, and Susman’s

challenges are justiciable today. See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 167 (2014)

(“purely legal” issue that would “not be clarified by further factual development” is ripe).

II.       ALL OF SUSMAN’S CLAIMS SHOULD PROCEED ON THE MERITS

          Susman has plausibly pleaded that the Order is unconstitutional in myriad ways. Rather

than deal with those allegations head on, Defendants advance a section-by-section defense of the

Order that is confused, conclusory, and devoid of any legitimate basis for dismissing Susman’s

claims.

          A.     The Complaint States Claims for Multiple Violations of the First
                 Amendment

                 1.      The Complaint Adequately Alleges Retaliation in Violation of the First
                         Amendment (Count I)

          a. It is bedrock law that government officials may not “use the power of the State to punish

or suppress disfavored expression.”        NRA v. Vullo, 602 U.S. 175, 188 (2024).           The First

Amendment prohibits government officials from retaliating for speech that has already occurred

as well as from acting to coerce or chill future expression. Houston Cmty. Coll. Sys. v. Wilson,

595 U.S. 468, 474 (2022); Vullo, 602 U.S. at 189; see Laird v. Tatum, 408 U.S. 1, 11 (1972)

(“violations may arise from the deterrent, or ‘chilling,’ effect of governmental regulations” in

response to protected expression).

          Susman has adequately pleaded all three elements of a First Amendment retaliation claim:

that it engaged in conduct protected under the First Amendment; that a causal link exists between

that exercise of a constitutional right and adverse government action; and that the retaliatory action

is sufficiently adverse to deter a person of ordinary firmness from speaking again. See Aref v.

Lynch, 833 F.3d 242, 258 (D.C. Cir. 2016); Compl. ¶¶ 141-52. First, the Firm’s advocacy on

behalf of its clients, advice to its clients, adoption of legal arguments, and petitioning of the courts

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self-evidently constitute “constitutionally protected expression” that “implicat[es] central First

Amendment concerns.” Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 546-48 (2001); see

McDonald v. Smith, 472 U.S. 479, 484 (1985); Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731,

741 (1983); see also Susman Mot. 15. Second, the Order admits on its face that Susman’s

protected activity motivated the Order’s penalties, and the broader context of the President’s

campaign against law firms that have taken positions he disfavors confirms the President’s

retaliatory motive. See Order § 1 (announcing the Order issued due to Suman’s supposed “efforts

to weaponize the American legal system and degrade the quality of American elections” and

advocacy the President has deemed at odds with unspecified “American interests”); Susman Mot.

15-16. Third, the Order plainly amounts to adverse action against Susman. It imposes devastating

consequences—besmirching the Firm’s reputation, interfering with the Firm’s ability to represent

clients, driving clients away from the Firm by threatening them with disfavored contracting

treatment, training the EEOC’s sights on the Firm’s employment practices, and hamstringing Firm

employees from holding security clearances or seeking future federal employment. See Susman

Mot. 16-18.

       b. In contending that Susman fails to adequately allege any of the three elements of a First

Amendment retaliation claim, Defendants take positions on behalf of the federal government that

flout the most fundamental principles of our legal system. On the first element, Defendants make

the extraordinary and unsupported assertion that Susman’s representations of clients in election-

related litigation are “not ‘protected’” under the First Amendment “in any meaningful sense” on

the ground that those representations purportedly “interfere with free and fair elections” and are

“punishable under civil rights laws.” Mot. 21. But there is no question that those representations

are in fact core protected speech. See Velazquez, 531 U.S. at 542 (“advocacy by the attorney to



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the courts” is protected expression); McDonald, 472 U.S. at 484 (“filing a complaint in court is a

form of [First Amendment] petitioning activity”). And they are entirely lawful—indeed, Susman

prevailed in court. See, e.g., Compl. ¶ 93; US Dominion, Inc. v. Fox News Network, 293 A.3d

1002, 1039 (Del. Super. Ct. 2023).               Defendants’ conclusory and wholly imaginary

characterizations of that litigation plainly do not support dismissal of Susman’s retaliation claim.

        On the second element, Defendants’ argument that Susman has not adequately pleaded a

link between the Firm’s protected expression and the Order’s penalties ignores both the Complaint

and the language of the Order itself. The Complaint plainly does plead such a link, and the Order’s

plain text makes that link as express as can be—as this Court has already ruled. See, e.g., Compl.

¶¶ 10-11, 124-31, 141-52; Order § 1 (“I have determined that action is necessary to address the

significant risks, egregious conduct, and conflicts of interest associated with [Susman]. Susman

spearheads efforts to weaponize the American legal system and degrade the quality of American

elections.”); see also Susman Mot. 15-16; Tr. 34:2-6 (Court stating that “we can read” from the

text of the Order that the President issued it “as a result” of the “views that [Susman] has taken on

behalf of its clients”). 3 Indeed, elsewhere in their motion, Defendants out-and-out admit that

Susman’s protected activity motivated the Order. See Mot. 7 (describing Section 1, including its

“descri[ption of]” Susman’s “activities” as a “law firm offering legal representation,” as the

“explanation” for other provisions of the Order); id. at 16 (“Section 3 relies . . . on Plaintiff’s . . .

malfeasance in election litigation.”).

        Defendants’ suggestion that the Order rests solely on Susman’s alleged “racial



3
  Every court to have considered one of the executive orders targeting law firms similarly has
concluded that the text of the order alone suffices to establish retaliatory motive. Tr. 44:23-25
(“[T]he retaliatory nature of the executive order is plain from the language of the EO; namely,
Section 1.”); Perkins TRO Tr. 75:12-13; Jenner TRO Tr. 48:1-5; Wilmer Cutler Pickering Hale &
Dorr LLP v. Exec. Off. of the President, 2025 WL 946979, at *1 (D.D.C. Mar. 28, 2025).

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discrimination” and on unspecified “national security” considerations, Mot. 16, 30, does nothing

to aid Defendants’ cause. Given the language of the Order and Defendants’ own admissions in

their motion, that suggestion offends common sense. See supra at p. 16. Moreover, even in a

made-up universe in which the President had legitimate reasons for wanting to punish Susman in

addition to its protected speech, that still would not defeat the retaliation claim. To be sure, courts

will sometimes sustain government action that disproportionately burdens certain messages if the

action can be justified on nondiscriminatory grounds. Mot. 16; see United States v. O’Brien, 391

U.S. 367, 383 (1968). But that principle cannot help the government here because the government

has announced that it is acting in retaliation for a targeted entity’s protected expression. See, e.g.,

McCullen v. Coakley, 573 U.S. 464, 480 (2014) (O’Brien applies only when “the law is justified

without reference to the content of the regulated speech” (citation omitted)). 4

       In any event, Defendants’ argument is independently and fatally flawed as to each of the

two supposed alternative grounds for the Order. As to purported discrimination, the Complaint

(correctly) alleges that Susman complies with applicable discrimination law as it “does not have

any program that offers employment opportunities only to people of color,” Comp. ¶ 155, and the

government cannot question the truth of that factual assertion in its motion to dismiss, see Iqbal,

556 U.S. at 678. And even if the allegations in the Complaint did not control, the government

lacks any factual basis to allege unlawful discrimination. At the TRO hearing, counsel for

Defendants did not dispute that the Firm’s practices are lawful.              Tr. 18:8-12 (on race

discrimination, “all I have is a web page from the Susman website discussing some of the diversity



4
  Defendants also make the narrower argument that Susman has not established causation with
respect to Section 4 because the Administration had begun reviewing diversity, equity, and
inclusion practices in the private sector before the Order issued. Mot. 26-27. But Section 4
specifically directs the EEOC to prioritize Susman in that review process, and that direction
penalizes Susman for its exercise of its First Amendment rights.

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initiatives, which we think would speak to the sort of gray zone under” current law). Moreover,

the notion that the Administration is actually concerned about employment discrimination at

Susman and that such concern drove issuance of the Order is impossible to square with facts that

Defendants’ own motion emphasizes. When the EEOC Acting Chair recently sent letters to a

number of law firms requesting information, Susman did not receive one. Mot. 25. And some of

the firms that did receive those letters, and therefore are part of an employment-related government

inquiry, have neither been subjected to executive orders nor reached “settlements” with the

President. 5

        As to national security, Defendants’ argument is (if possible) even weaker. Defendants

insist that Section 5, at least, “is not tied to speech; it is tied to the ‘national security’ and the

‘interests’ of the United States.” Mot. 30. As the Complaint alleges, however, the Order explains

that the whole reason that the President believes Susman’s activities are inconsistent with the

national interest is because the Firm has represented clients or otherwise supposedly taken political

actions adverse to the President and his preferred policies. See Order § 1; Compl. ¶¶ 10-11, 124-

31, 141-52. Defendants cannot circumvent the First Amendment by characterizing disfavored

speech on political matters as against the national interest and then claiming the national interest

as a separate, nonretaliatory basis for the Order. In addition, the Order itself makes no finding

grounded in fact that Susman employees actually pose a danger to national security. The Order’s

single mention of the “military” is wholly mysterious, and Defendants’ counsel has been unable

to explain it. See, e.g., Compl. ¶ 155; Tr. 18:13-19.

        Finally, as to the third element of the retaliation claim, Defendants do no more than gesture



5
 See Andrea R. Lucas, Review of Perkins Coie LLP’s Compliance with Title VII of the Civil Rights
Act of 1964, EEOC (Mar. 17, 2025), https://www.eeoc.gov/sites/default/files/2025-
03/Law_Firm_Letters_-_03.17.2025.pdf (listing firms).

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at an argument that Susman has failed to plead an adverse action. Their unexplained assertion that

the Order is not “‘punitive’ or a ‘sanction,’” Mot. 1; see Tr. 19:6-20 (similar), is demonstrably

incorrect, as the entire point of the President’s campaign against law firms is to inflict punishment.

See Compl. ¶¶ 98, 101 (quoting President’s statements that lawyers “will be sought out, caught,

and prosecuted at levels, unfortunately, never seen before in our Country” and that “[w]e have a

lot of law firms that we’re going to be going after”); id. ¶ 102 (close ally of the President stating

that “what we are trying to do is put [law firms] out of business and bankrupt” them). And to the

extent that Defendants mean to contend that the Order has insufficiently adverse consequences to

trigger First Amendment scrutiny, they are indisputably wrong. The First Amendment retaliation

inquiry does not ask whether the plaintiff has suffered a “punitive” action or a formal “sanction”;

the retaliatory action need only be “sufficient to deter a person of ordinary firmness in plaintiff’s

position from speaking again.” Aref, 833 F.3d at 258. As the Complaint properly alleges, the

Order unquestionably clears that bar because it violates the Firm’s constitutional rights; seeks to

drive away its clients; impairs its attorneys’ ability to practice their profession; and threatens the

Firm’s ability to recruit and retain talent. Compl. ¶¶ 132-40; see TRO 19-21; Susman Mot. 16-18.

“Any one of these actions alone meets the standard for adverse action.” Tr. 45:16-17.

       c. In a last-ditch effort to defeat Susman’s retaliation claim, Defendants appear to contend

that no First Amendment violation exists because the government’s “‘legitimate interests as a

contractor . . . outweigh the free speech interests at stake’ here.” Mot. 21 (quoting Board of County

Commissioners v. Umbehr, 518 U.S. 668, 685 (1996)). Even setting aside the confusing and

unsupported attempt to analogize Susman itself to a government contractor, that contention fails.

As explained above, and as the Complaint clearly alleges, the Order was motivated by the

President’s desire to retaliate against Susman for its protected speech. No “legitimate interest” is



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at play, see infra at p. 20, let alone one that could possibly outweigh Susman’s free-speech rights.

               2.      The Complaint Adequately             Alleges    Impermissible      Viewpoint
                       Discrimination (Count II)

       a.   Susman has adequately pleaded that the Order violates the First Amendment’s

prohibition on viewpoint discrimination. See Compl. ¶¶ 153-61. Viewpoint “discrimination is

uniquely harmful to a free and democratic society,” Vullo, 602 U.S. at 187—particularly in the

context of legal advocacy, where it threatens the existence of an “informed, independent bar” and

thus “threatens severe impairment of the judicial function.” Velazquez, 531 U.S. at 545-47

(holding unlawful an attempt to “prohibit” certain “advice or argumentation” by lawyers).

Accordingly, viewpoint-based sanctions are subject to strict scrutiny, and may be sustained “only

if the government proves” that the action is “narrowly tailored to serve compelling state interests.”

Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015) (citation omitted).

       As the Complaint alleges, the Order singles Susman out for disfavored treatment based on

positions the Firm has taken in Court. Section 1 justifies the penalties that the Order imposes by

pointing to Susman’s advocacy in the “legal system” in the context of “elections.” Order § 1. That

is indisputably a “veiled [a]llusion[]” to the Firm’s representation of Dominion and other clients

in the Firm’s efforts to defend the integrity of the 2020 election. Tr. 45:22-23; see Compl. ¶¶ 4,

93. In other words, as this Court has already observed, it is clear from the face of the Order that

the “genesis” of the Order’s penalties is the Administration’s “disagreement with [Susman’s]

viewpoint.” Tr. 34:7-9.

       It is equally clear that the Order cannot survive strict scrutiny. The existence of viewpoint

discrimination is “all but dispositive” of the strict-scrutiny test. Nat’l Ass’n of Diversity Officers

in Higher Educ. v. Trump, 2025 WL 573764, at *15 (D. Md. Feb. 21, 2025) (citation omitted); see

Tr. 46:10-12. There is no compelling interest in punishing lawyers who have advocated for clients


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whose views the President dislikes. In fact, there is a compelling interest in the opposite, given

that zealous, ethical representation of those disfavored by the government has long been part of

our constitutional tradition and is essential to reining in abuses of government power. See NAACP

v. Button, 371 U.S. 415, 440 (1963) (exercise of “First Amendment rights to enforce constitutional

rights through litigation” on behalf of unpopular minorities “cannot be deemed malicious” as “a

matter of law”). The Order’s vague, unsupported references to discrimination and national security

likewise do not come close to supplying a compelling interest sufficient to justify the Order. See

Tr. at 46:13-20 (“The Court agrees with Susman that nothing in the order shows a compelling

interest.”); supra at pp. 17-18.

       Similarly, the Order is not narrowly tailored: it lacks “precision of regulation,” which is a

fatal defect when “political expression or association is at issue.” In re Primus, 436 U.S. 412, 432,

434 (1978) (citation omitted). As just one example, the Order sweeps so broadly as to potentially

bar Susman employees from all federal buildings—including “courthouses, Post Offices, the VA

hospital and beyond.” Tr. 47:5-7.

       b. Defendants’ contrary arguments lack merit. They try to defend Section 3 of the Order

as narrowly tailored, claiming that it “applies” only “to a small number of government contractors”

who “must merely identify business with [Susman] for the limited purpose of facilitating agency

review of government contracts with [the Firm].” Mot. 23. But that is not what the Order says.

Section 3’s disclosure obligations apply to “Government contractors,” full stop. Order § 3(a). And

once Susman’s clients have identified themselves, agency heads must “review all contracts with

Susman or with entities that disclose doing business with Susman” in order to “align” funding

priorities with the “interests of the citizens of the United States”—interests, one might recall, that

the Order finds that Susman undermines. Id. §§ 1, 3(b) (emphasis added). Section 3 thus threatens



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the termination of all government contracts held by any clients of Susman—regardless of whether

the work Susman does for the client relates to the government contract, and regardless of whether

the contract relates in any way to purported national-security concerns. That penalty is not

narrowly tailored by any measure.

       Separately, Defendants resist the charge of viewpoint discrimination on the ground that “a

funding program [that] supports one point of view does not necessarily establish viewpoint

discrimination against disfavored alternatives.” Mot. 22 (citing Rust v. Sullivan, 500 U.S. 173

(1991)); see id. (asserting that “[c]hoosing who to contract with is not ‘viewpoint discrimination’”

because there are “only so many government contracts to go around”).             But although the

government may choose to subsidize certain perspectives over others, the government may not do

what the Order does here: use its power over federal funding to manipulate speech “outside the

scope of the federally funded program.” USAID v. All. for Open Soc’y Int’l, 570 U.S. 205, 217

(2013) (citation omitted); see Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 832-

33 (1995); Rust, 500 U.S. at 193. By attempting to leverage the contracting process to manipulate

speech that has nothing to do with government contracts, the Order violates the First Amendment.

See Rosenberger, 515 U.S. at 834 (government may not “discriminate invidiously in its subsidies

in such a way as to ‘aim at the suppression of dangerous ideas’” (citation omitted)). 6




6
  For those reasons, this Court should deny the government’s motion to dismiss not only Count II
(claiming viewpoint discrimination) but also Count V, which challenges the Order’s creation of a
new condition of government contracting—that contractors not work with Susman—as a violation
of the First Amendment and the Spending Clause. Compl. ¶¶ 175-81. The government does not
argue that Count V fails to state a claim, and has therefore forfeited any such argument. In
addition, Susman adequately alleges that the Order creates a new funding requirement that
“leverage[s]” government contracting to “regulate speech outside the contours of the federal
program itself.” Id.

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               3.      The Complaint Adequately Alleges Violation of the Petition Clause
                       (Count III)

       Susman also states a claim that the Order violates its right to petition. See Compl. ¶¶ 162-

67. The government protests that Susman’s claim under the Petition Clause is “conclusory” and

thus “due no weight at all.” Mot. 29-30. But Susman’s complaint is far from conclusory on that

score—it plausibly alleges that the Order violates the Petition Clause twice over. First, the

Complaint alleges that the Order punishes Susman for past petitioning activity. See Compl. ¶¶ 144,

163. That runs afoul of the First Amendment’s prohibition of “any sanction on” good-faith

petitioning activity. Nader v. Democratic Nat’l Comm., 567 F.3d 692, 696 (D.C. Cir. 2009).

Second, the Complaint alleges that the Order interferes with the ability of Susman attorneys to

exercise their right to petition on an ongoing basis by restricting federal employees from engaging

with Susman, which interferes with the Firm’s ability to petition administrative agencies, and by

limiting Susman’s access to federal courthouses—a particularly blatant violation of the petitioning

right. See, e.g., Borough of Duryea v. Guarnieri, 564 U.S. 379, 387 (2011). It is only Defendants’

argument in support of dismissal of the claim that is conclusory, as that argument simply fails to

engage with any of those infringements on Susman’s petitioning rights.

               4.      The Complaint Adequately Alleges an Unconstitutional Restriction on
                       Freedom of Association (Count IV)

       As the Complaint adequately alleges, the Order’s government-contractor provisions

amount to an infringement of the right to associate. See Compl. ¶¶ 168-74. By demanding that

government contractors “disclose any business they do with Susman,” Order § 3(a), the Order

“compel[s] disclosure” of Susman clients’ “affiliation” with the Firm, Ams. for Prosperity Found.

v. Bonta, 594 U.S. 595, 606-07 (2021). And by subjecting any contractors who have associated

with Susman to a risk of having their contracts terminated and facing other penalties, Order § 3(b);

see supra at p. 5, the Order’s disclosure requirements deter clients from continuing their

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relationship with the Firm, see Ams. for Prosperity Found., 594 U.S. at 606 (threats of economic

reprisal have a chilling effect). In fact, that deterrent effect is the Order’s express goal: it is aimed

at discouraging contractors from continuing to retain Susman or from retaining it in the future. See

Order § 1 (Susman “should not . . . be deemed [a] responsible steward[] of any Federal funds”).

          The Complaint also properly asserts that such infringement on the freedom of association

fails the applicable level of scrutiny, which is exacting. See Ams. for Prosperity Found., 594 U.S.

at 607.     Once again, the government’s stated purpose of suppressing the exercise of First

Amendment rights cannot possibly be a “sufficiently important interest.” Id. The government has

no legitimate interest, let alone an important one, in “coerc[ing] private parties in order to punish

or suppress” disfavored views. Vullo, 602 U.S. at 180. And although Defendants stress that

Section 3 requires Susman’s clients to make a “factual disclosure” that is reviewed by the

government and not distributed “to the public as a whole,” rather than to “adopt any viewpoint,”

Mot. 20-21, that does not make the provision any more constitutional. The challenged statute in

Americans for Prosperity Foundation likewise required a viewpoint-neutral disclosure of factual

information to the government, without “disclosure to the general public,” but the Supreme Court

still found that the requirement violated the First Amendment because of its chilling effect. 594

U.S. at 600-01, 611, 616 (disclosure of identities of “major donors”).

          Defendants also suggest that the freedom-of-association claim must fail on the ground that

the government is “entitled to monitor” Susman via Section 3 of the Order because “when business

conducted with Susman Godfrey is ‘related to the subject of the Government contract,’ it is very

likely that Susman Godfrey is a government subcontractor.” Mot. 20. That suggestion rests on

asserted facts that this Court cannot consider as a basis for dismissal—not to mention that the

notion of Susman as government subcontractor when it does legal work in connection with its



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clients’ government contracts is both utterly fanciful and entirely unsubstantiated. In any event,

Defendants’ argument in that regard addresses only the subsection of Section 3 that applies when

the “business” a contractor does with Susman “is related to the subject of the Government

contract,” Order § 3(a), and Section 3 sweeps far more broadly than that, see supra at pp. 21-22. 7

       B.      The Complaint States Claims for Violations of Due Process

       A due-process claim must proceed when a plaintiff plausibly alleges that it (1) faces a

deprivation of a protected liberty or property interest, and (2) has not received the process that is

due. See Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982). Susman has plausibly alleged

just that here. Moreover, the Complaint amply pleads that the Order is unconstitutionally vague,

which gives rise to an independent due process violation.

               1.      The Complaint Adequately Alleges That the Order Deprives Susman
                       of Protected Liberty and Property Interests with No Process
                       Whatsoever (Count VI)

       a. The Complaint plausibly alleges that the Order deprives Susman of at least three

independent liberty and property interests. See Compl. ¶¶ 182-90. First, the Order “formally or

automatically exclude[s]” the Firm and its attorneys from government work, or at minimum has

“the broad effect of largely precluding” them “from pursuing [their] chosen career.” O’Donnell v.

Barry, 148 F.3d 1126, 1140-41 (D.C. Cir. 1998) (citation omitted); see Campbell v. District of

Columbia, 894 F.3d 281, 288 (D.C. Cir. 2018) (liberty interest in “a chosen profession free from

unreasonable governmental interference”). Second, the Order deprives Susman of its “good name,


7
 Because the government has tried to treat each section of the Order in a vacuum—rather than as
part of an intertwined, unified package of retaliatory sanctions, see infra at pp. 33-34—the
government mistakenly concludes that Susman does not challenge Section 2(b). Mot. 12 n.1. But
Section 2(b)’s revocation of any materials and services provided to Susman by the government
violates the First Amendment for all of the same reasons the rest of the Order does: it is a penalty
based on the Firm’s perceived viewpoint, levied to punish various forms of First Amendment
protected activity. Section 2(b) must be enjoined with the rest of the Order. See Compl. ¶¶ 13,
141-61.

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reputation, honor, [and] integrity.” Wisconsin v. Constantineau, 400 U.S. 433, 437 (1971). Third,

the Order deprives Susman of its protected property interest in contracts with its clients. See FDIC

v. Mallen, 486 U.S. 230, 240 (1988); Toxco Inc. v. Chu, 724 F. Supp. 2d 16, 27 (D.D.C. 2010)

(“contracts between private parties may give rise to” protected “property interests”).

       It is bedrock law that the Due Process Clause requires notice and an opportunity to be heard

before such deprivations. See, e.g., Ralls Corp. v. Comm. on Foreign Inv., 758 F.3d 296, 318 (D.C.

Cir. 2014) (recognizing that “the right to know the factual basis for the action and the opportunity

to rebut the evidence supporting that action are essential components of due process”). But as the

government cannot contest, Susman did not receive any process at all before being subjected to

the Order. Compl. ¶¶ 187-88. Susman was not, for instance, “informed, prior to the issuance of

the Order, of the conduct that would subject the Firm to punishment or the severity of the potential

punishment.” Id. ¶ 187. Nor was Susman “given any opportunity to challenge the purported

factual findings or the sanctions in the Order prior to their announcement.” Id. ¶ 188.

       b. The government’s jumbled arguments supply no basis for dismissing Susman’s due-

process claim. At the threshold, the government fails to respond to the Firm’s well-pleaded

allegations that, without any process, the Order (1) prevents Susman and its attorneys from

pursuing their chosen profession, and (2) interferes with the Firm’s relationships with clients. See

Compl. ¶¶ 184-86. Count VI can proceed for that reason alone.

       At any rate, the Order likewise deprives Susman of its constitutionally protected

reputational interests. It is well settled that Executive Branch “findings of wrongdoing” that “could

have an adverse impact on [an entity’s] reputation” must be issued in accordance with due process.

Fox, 567 U.S. at 255-56. The Order tarnishes the Firm’s reputation by announcing that all Susman

attorneys are unworthy to work on government contracts (or for government contractors); possess



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national-security information; enter government buildings; engage with government employees;

receive government funds, goods, property, or services; or be hired by government agencies. See

Order §§ 1-3, 5. The Order also has a series of stigmatizing assertions about the purportedly

“egregious” nature of Susman’s actions, stating (for example) that the Firm has “degrade[d] the

quality of American elections” and supported “dangerous efforts to undermine the effectiveness

of the United States military.” Id. § 1. This creates the prospect of wide-reaching reputational

damage, including as to potential jurors and others who may read reports of the Order.

       In response, the government invokes the inapposite “reputation-plus” line of cases.

According to the government, those cases stand for the proposition that when a government

employee is terminated, she must allege that she was defamed in order to assert a procedural due-

process claim. Mot. 10. But Susman is not a government employee that is being terminated; the

Firm is a private organization that is the target of government retaliatory sanctions. And even

under the government’s own cases, defamation is not a requirement of a due-process claim where,

as here, the reputational injury is not merely a product of “official speech, but [of] a continuing

stigma or disability arising from official action.” Campbell v. District of Columbia, 126 F. Supp.

3d 141, 153 (D.D.C. 2015) (citation omitted). For both of those reasons, Susman need not prove

the merits of a defamation claim to show that it has been deprived of a cognizable reputational

interest. At minimum, the Order infringes on the Firm’s reputational interests and thereby triggers

the protections of the Due Process Clause. See Constantineau, 400 U.S. at 437 (“due process

comes into play” whenever “the State attaches a badge of infamy”); Gross v. Lopez, 419 U.S. 565,

574-75 (1975) (similar). 8



8
  The government also contends that the Complaint “does precious little to contest any particular
fact in Section 1.” Mot. 9. That is both beside the point and wrong. The Complaint, for instance,


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               2.      The Complaint Adequately Alleges That the Order Is Impermissibly
                       Vague (Count VII)

       The Complaint plausibly alleges that the Order is void for vagueness. See Compl. ¶¶ 191-

97. A law is unconstitutionally vague if it “fails to provide a person of ordinary intelligence fair

notice of what is prohibited, or is so standardless that it authorizes or encourages seriously

discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304 (2008). Here, the

Order is drafted to create immediate, irremediable uncertainty about the scope of the disabilities

placed on Susman and its clients—and to leverage that vagueness for its in terrorem effect. See

Susman Mot. 27-28; Compl. ¶¶ 191-97. Susman and its clients have no way to know the full scope

of the Order’s restrictions, the standards by which it will be enforced, or what exactly triggered

the Order’s draconian punishments in the first place.

       Unable to defend that vagueness on the merits, the government leads with the remarkable

assertion that because the Order is not a criminal statute it cannot be unconstitutionally vague or,

at minimum, is subject only to a relaxed version of the vagueness doctrine. Mot. 10-11. The

Supreme Court has squarely rejected that argument. In Sessions v. Dimaya, 584 U.S. 148 (2018),

“[t]he Government argue[d] that a less searching form of the void-for-vagueness doctrine

applie[d] . . . because this is not a criminal case,” id. at 156, but the Court reaffirmed its

longstanding rule that “the ‘void for vagueness’ doctrine” is “applicable to civil as well as criminal



specifically contests the Order’s allegation that Susman “administers a program where it offers . . .
employment opportunities only to ‘students of color.’” Order § 1. As explained, “Susman does
not have any program that offers employment opportunities only to people of color.” Compl.
¶ 155. Indeed, the Susman Godfrey prize, with which the government appears preoccupied, does
not involve employment opportunities at all. See Susman Godfrey, The Susman Godfrey Prize
(available at https://www.susmangodfrey.com/the-susman-godfrey-prize/) (accessed Apr. 30,
2025). And the Complaint repeatedly describes the Order’s accusations of, among other things,
“fund[ing] groups that engage in dangerous efforts to undermine the effectiveness of the United
States military” and “weaponiz[ing] the American legal system and degrad[ing] the quality of
American elections,” Order § 1, as “unfounded,” e.g., Compl. ¶ 134, which they are.

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actions,” Boutilier v. INS, 387 U.S. 118, 123 (1967); see 584 U.S. at 156; see also, e.g., Newman

v. Moore, 743 F. Supp. 3d 62, 72 (D.D.C. 2024) (“vagueness doctrine applies” with full force to

all “laws that regulate the primary conduct of private citizens,” including “‘laws that restrict

speech,’ and ‘laws that regulate businesses’”) (citation omitted).

       That rule applies with special force where, as here, courts confront civil government action

relating to speech. As the Supreme Court explained in FCC v. Fox Television Stations, “[w]hen

speech is involved, rigorous adherence to [fair-notice] requirements is necessary to ensure that

ambiguity does not chill protected speech,” 567 U.S. at 253-54, particularly where the challenged

orders are likely to have “an adverse impact on [the target]’s reputation,” id. at 256. That precisely

describes the situation presented in this case.

       Defendants’ other main argument on vagueness is that the Order cannot be improperly

vague because it “refers to racial discrimination, which is already prohibited by civil rights laws”

(Mot. 11)—but that argument is a makeweight.             Susman never alleges that the Order is

impermissibly vague on the ground that it references civil rights laws. See Compl. ¶¶ 191-97.

Allowing Susman’s due process claim to proceed would thus in no way “call into question the

constitutionality” of those laws. Mot. 11. Rather, Susman contends that the Order is void for

vagueness because it gives federal agencies sweeping discretion to impose severe consequences

on Susman for ill-defined conduct—and thereby to deter Susman from representations and

advocacy that could be perceived as adverse to the President’s interests or the government’s

interests more broadly. That is paradigmatic vagueness that invites “arbitrary and discriminatory

application.” Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972).

       C.      The Complaint Adequately States an Equal Protection Claim (Count IX)

       The Complaint also plausibly alleges an equal protection claim. See Compl. ¶¶ 203-211.

“Nowhere are the protections of the Equal Protection Clause more critical than when [the

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government] singles out one or a few for uniquely disfavored treatment.” News Am. Publ’g, Inc.

v. FCC, 844 F.2d 800, 813 (D.C. Cir. 1988); see Swanson v. City of Chetek, 719 F.3d 780, 784

(7th Cir. 2013). Here, the Order intentionally singles out Susman for differential treatment—

without so much as a rational basis for that difference, much less the “appreciably more”

persuasive justification that is required when First Amendment activity is burdened. News Am.

Pub., Inc., 844 F.2d at 802.

       The government’s counterarguments have no force. First, the government contends that

the “class-of-one theory of equal protection is inapplicable in the government employment

context.” Mot. 17 (citing Engquist v. Or. Dep’t of Agric., 553 U.S. 591, 609 (2008)). But the

Order does not involve “subjective, individualized determinations” akin to adjudicating “employee

grievance[s]”—much less actual individualized personnel decisions. Engquist, 553 U.S. at 602,

609. To the contrary, it is a clear order to federal agencies to target Susman and its government-

contractor clients, see Order § 3, and it hamstrings Susman’s ability to do business with the federal

government in a host of other ways, see, e.g., id. §§ 2, 5.

       Second, the government insists that Susman is not “‘similarly situated’ to other potential

government contractors who do not engage in unlawful DEI practices” and that the Order’s

distinction “between potential contractors who ‘engage in [racial discrimination]’ and those who

do not” is “plainly rational.” Mot. 17. But where, as here, “animus is readily obvious” or “easily

demonstrated” on the face of government action, myopically applying the comparator requirement

is unwarranted. Swanson, 719 F.3d at 784; see Cordi-Allen v. Conlon, 494 F.3d 245, 251 n.4 (1st

Cir. 2007). Moreover, even setting aside the Complaint’s (accurate) allegations that Susman does

not engage in unlawful practices (see, e.g., Compl. ¶ 155), the Order is the furthest thing from a

general policy that distinguishes between firms that allegedly discriminate and firms that do not.



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Susman was not even included among the twenty firms that received “letters from the EEOC

Acting Chair” regarding employment discrimination. Mot. 25; see Compl. ¶ 140. Yet the Order

homes in on only Susman. The government has no legitimate reason for such targeting, and a

“bare . . . desire to harm a politically unpopular group” is not a “legitimate state interest[].” City

of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 447 (1985) (citation omitted).

        D.      The Complaint Adequately Alleges That the Order Violates Susman’s
                Clients’ Due Process Right to Counsel (Count VIII)

        Susman also has adequately pleaded that the Order violates its clients’ rights to counsel.

See Compl. ¶¶ 198-202. The Fifth Amendment protects litigants in civil and criminal cases alike

against arbitrary deprivations of their counsel of choice. See Powell, 287 U.S. at 53, 68-69; Am.

Airways Charters, Inc. v. Regan, 746 F.2d 865, 873-74 (D.C. Cir. 1984). The Order amounts to

exactly such arbitrary and unjustified interference. By “limiting” Susman attorneys’ ability to

“engag[e] with” government officials or “access . . . Federal Government buildings,” Order § 5(a),

the Order limits Susman’s clients’ ability to participate in upcoming meetings and hearings via

their counsel of choice. The Order offers no legitimate rationale for those limitations, making it

classically arbitrary.

        To be sure, the right to counsel is “not absolute.” Mot. 30 (quoting United States v.

Friedman, 849 F.2d 1488, 1490 (D.C. Cir. 1988)). But at the very least, the Due Process Clause

requires the government to point to some valid interest before it can infringe on that right. See

Powell, 287 U.S. at 68-69. The Order flunks even that most basic test. It does not identify any

credible interest whatsoever to justify its intrusion on Susman’s clients’ right to counsel, and that

groundless interference is a denial of due process.




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       E.      The Complaint Adequately Alleges That the Order Exceeds the President’s
               Statutory and Constitutional Authorities and Violates the Separation of
               Powers (Count X)

       The President lacks statutory or constitutional authority to impose the sanctions in Sections

3 and 5. The “President’s power, if any, to issue” an executive order “must stem either from an

act of Congress or from the Constitution itself.” Youngstown Sheet & Tube Co. v. Sawyer, 343

U.S. 579, 585 (1952). No statute authorizes the President or his executive officers to sanction a

law firm for representing clients. The President thus is exacting retribution against Susman

without a scintilla of statutory authority. Because the President is not exercising any power

delegated by Congress, the Order could survive only if supported by some inherent executive

power—but none applies here. Article II confers no power to punish disfavored law firms through

contracting orders and access restrictions; rather, “officially prepared and proclaimed

governmental blacklists possess almost every quality of bills of attainder, the use of which was

from the beginning forbidden to both national and state governments.” Joint Anti-Fascist Refugee

Comm. v. McGrath, 341 U.S. 123, 143-44 (1951) (Black, J., concurring).

       Equally to the point, allowing the Executive to punish attorneys based on the President’s

personal pique over their past representations would countenance a massive intrusion on “the

proper exercise of the judicial power.” Velazquez, 531 U.S. at 545; see Stern v. Marshall, 564

U.S. 462, 482-84 (2011). In our adversarial system, “courts must depend” on attorneys to “present

all the reasonable and well-grounded arguments necessary for proper resolution of [a] case.”

Velazquez, 531 U.S. at 545. Allowing the Executive to punish lawyers for the positions they take

in court would “hamper[] . . . every court’s ability to adjudicate its cases,” Tr. 52:9-14, threatening

“severe impairment of the judicial function,” Velazquez, 531 U.S. at 546. The separation of powers

thus precludes either Congress or the Executive from attempting to “exclude from litigation those

arguments and theories [it] finds unacceptable.” Id. at 546.

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        It should come as no surprise that Defendants cannot identify a single example where the

sort of campaign of retributive intimidation at issue here has ever been tried. That no President in

our history has attempted to wield the power of his office to attack a law firm for advocacy on

behalf of clients is powerful confirmation that the Constitution does not permit, much less

affirmatively authorize, this President’s actions. See Free Enter. Fund v. PCAOB, 561 U.S. 477,

505 (2010); Plaut v. Spendthrift Farm, Inc., 514 U.S. 211, 230 (1995) (“That prolonged reticence

would be amazing if such interference were not understood to be constitutionally proscribed.”).

III.    DEFENDANTS’ PIECEMEAL EFFORTS TO SALVAGE THE ORDER LACK
        MERIT

        To obfuscate the Order’s pervasive and egregious unconstitutionality, Defendants urge this

Court to consider it as a series of independent actions that bear no relation to each other. But the

Order is a single, comprehensive, and comprehensively unconstitutional executive action. In all

events, even if the Order could be segmented into separately analyzable pieces, the government’s

defenses would still fail.

        1. Contrary to Defendants’ position, the Order must be analyzed as a whole, not artificially

chopped up into its constituent parts. Mot. 3-4. Where different provisions of an executive order

“are so mutually connected with and dependent on each other” that it is apparent “that the

[President] intended them as a whole,” then a fatal flaw in any one provision takes down the whole

order. Allen v. City of Louisiana, 103 U.S. 80, 84 (1880) (citation omitted). Here, the Order

“embodie[s]” just such “a single, coherent policy, the predominant purpose of which” is to punish

Susman for disfavored expression and associations that anger the President. See Minnesota v.

Mille Lacs Band of Chippewa Indians, 526 U.S. 172, 191 (1999). After all, the very title of the

Order announces its comprehensive aim of “address[ing]” the perceived “risks from Susman

Godfrey.” Moreover, the entire Order is an act of retaliation against Susman—without due


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process, and without a statutory or constitutional basis. And the entire Order maligns Susman’s

“good name,” “reputation,” and “integrity.” Constantineau, 400 U.S. at 437. The Order’s various

sections are reinforcing, and the Order is thus unconstitutional in toto.

        2. In all events, Defendants’ attempts to defend the Order’s various provisions one by one

each fall flat.

        a. Defendants’ effort to defend the statements in Section 1 as simple government speech

reciting “what the current Administration thinks about” Susman, Mot. 1, 12, is utterly implausible.

It is true enough that a President is “entitled to say what [he] wishes.” Pleasant Grove City, Utah

v. Summum, 555 U.S. 460, 467-68 (2009) (citation omitted); Mot 12. But Section 1 is no mere

presidential musing.

        Section 1 announces official presidential findings and conclusions that imbue every

substantive provision of the Order with its operative effect. Section 1 makes the defamatory

assertion that Susman’s advocacy on behalf of its clients is “detrimental to critical American

interests,” Order § 1, and Section 3 instructs agencies to make funding decisions that are “aligned

with American interests,” id. § 3. Section 1 thus lays the predicate—and sets the government

policy—that will justify (even require) agencies’ decisions to terminate contracts involving

Susman or its clients. Similarly, Section 1 falsely accuses Susman of racial discrimination, and

then directs that such alleged conduct disqualifies Susman from “engage[ment]” with the

government and access to the “Nation’s secrets”—directions that are effectuated in the Order’s

later sections. See Order §§ 2, 5.

        Vullo forecloses Defendants’ “government speech” argument.           There, a unanimous

Supreme Court rejected a similar effort to treat an official’s criticism of the NRA as “permissible

government speech,” reasoning that doing so would improperly treat that speech “in isolation”



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from the official’s concomitant threat to punish companies for associating with the NRA. 602

U.S. at 194-95. That reasoning applies a fortiori here, where Section 1’s defamatory statements

serve as the operative predicates for the punishments imposed in the Order’s other provisions. The

President may not announce defamatory “findings” and direct Executive Branch officials to target

Susman for draconian punishment based on those findings, and then hide behind the disingenuous

claim that the action and its underlying findings are mere government speech.

       b. Defendants’ efforts to insulate Section 2 (Mot. 12-13) are no more persuasive. Susman’s

challenge to Section 2 does not implicate any “nuanced” “predictive” “judgment call” about

whether any “individual[]” should obtain or retain a clearance—that is, the sorts of individualized

security decisions that are nonjusticiable. See Dep’t of Navy v. Egan, 484 U.S. 518 (1988); Lee v.

Garland, 120 F.4th 880, 886, 893 (D.C. Cir. 2024). 9 Rather, Susman contends that Section 2

unconstitutionally subjects Susman employees to a layer of procedure to which other clearance

holders are not subject by directing agencies to suspend all Firm employees’ clearances and then

undertake an undefined “review” to re-evaluate their eligibility. See Order § 2. Section 2 does so

based on a completely unsupported declaration that any Susman employee’s possession of a

clearance is likely inconsistent with the interests of the United States. Regardless of whether any

clearances are permanently revoked, the Order immediately injures Susman’s reputation and casts

doubt on Susman lawyers’ ability to acquire and retain clearances, thereby threatening their ability

to obtain work that might require clearances. Section 2 inflicts those injuries without any



9
  Susman respectfully preserves the argument that Lee incorrectly deemed certain constitutional
challenges to clearance determinations nonjusticiable. Egan says nothing about reviewability of
constitutional challenges. See 484 U.S. at 520. And Lee denies plaintiffs “any judicial forum in
which to raise” certain “colorable constitutional challenges,” which creates a “serious”
constitutional difficulty, even in the national-security context. 120 F.4th at 888 (quoting Webster
v. Doe, 486 U.S. 592, 603 (1988)). Ultimately, though, that makes no difference here—even on
its own terms, Lee does not bar Susman’s claims.

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process—and for the same retaliatory and viewpoint-discriminatory reasons as the rest of the

Order. 10 See supra at pp. 14-22.

       Those claims against Section 2 are not barred by Egan and Lee. Lee explains that courts

may redress injuries that “exist[] regardless” of how government “resolve[s] any particular”

clearance decision—as Susman’s injuries clearly do. 120 F.4th at 893; see Nat’l Fed’n of Fed.

Emps. v. Greenberg, 983 F.2d 286, 290 (D.C. Cir. 1993) (claim that agency “deprived [employee]

of due process by firing him for security reasons without following proper procedures” was

reviewable). In addition, because Susman challenges the Executive’s blanket policy, the Judiciary

is well placed to adjudicate Susman’s claims that the categorical security review violates the First

and Fifth Amendments. See Gill v. DOJ, 875 F.3d 677, 685 (D.C. Cir. 2017) (Tatel, J., concurring)

(equal protection challenge to “policy or practice of treating Muslims or naturalized citizens

differently . . . would not be barred by Egan”); Hegab v. Long, 716 F.3d 790, 798 (4th Cir. 2013)

(Motz, J., concurring) (similar).

       The Order’s vague and unsupported invocations of “national security,” Order §§ 1, 5, do

not alter that conclusion. Nowhere does the Order even purport to make the sort of particularized

national-security findings that would require deference under Egan and Lee. Section 2 itself

contains no findings about national security, mentioning only “the national interest”—a term that

the Order makes clear is capacious enough to encompass things that have nothing to do with

national security, such as diversity initiatives and election litigation with which the President



10
  Defendants are wrong to assert that procedures in the forthcoming clearance review will provide
Susman with all the process it is due. See Mot. 14-15. The President’s announcement that the
Firm’s attorneys cannot be trusted with classified information immediately damaged Susman’s
reputation. And if the Order were permitted to take effect, the reputational harm would only
compound, as clients would grow increasingly concerned about whether they could entrust the
Firm with their most sensitive matters. Post-deprivation procedures do nothing to safeguard
Susman’s interest in avoiding unwarranted public shaming at the hands of the President.

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disagrees. The Order therefore leaves no doubt that references to the “national interest” describe

the President’s overt intent to retaliate against Susman for its protected conduct—not any

particularized security decision. Further, whatever credibility such vague “national interest”

concerns might otherwise have had is eliminated by the context of the President’s broader

campaign against law firms. Section 2 is identical to provisions appearing in each executive order

targeting law firms. See, e.g., Jenner Order § 2; Wilmer Order § 2. Yet the exact same “security”

concerns about Paul Weiss apparently evaporated when the firm settled with the President in a

way that did nothing whatsoever to affect national security. 11 See Compl. ¶¶ 107-10.

       At the end of the day, Section 2 is openly and blatantly unconstitutional. Neither Egan nor

Lee requires this Court to overlook that fact.

       c. Defendants’ efforts to salvage Sections 3 and 5 fare no better. Defendants contend that

the Court can ignore the constitutional infirmities of the Order’s contracting and personnel

provisions because the government adopted those provisions in its capacity as a property owner

and an employer—that is, “as a private party, not as a sovereign.” Mot. 15-17, 29. In Defendants’

view, because the government has acted in those purportedly non-sovereign capacities, its actions

against Susman cannot be viewed as “punitive” or a “sanction” and thus necessarily fall “within

the bounds of established executive authority.” Id. at 1; see id. at 15-16, 22, 29. Defendants

essentially urge that the President has unbounded authority to declare that he is not acting as a

sovereign—even as he wields the immense power of the federal government to retaliate against




11
   For those reasons, Rattigan v. Holder, 689 F.3d 764 (D.C. Cir. 2012), does not help Defendants.
Rattigan’s narrow protection for security-related reporting that is not knowingly false has no
application here, where Defendants’ rescission of the Paul Weiss order demonstrates that any
stated security concerns are illusory, and Defendants have been conspicuously unable to
substantiate the Susman Order’s reference to military effectiveness. Nor does Rattigan address
anything like the categorical procedural injuries inflicted by the Order here.

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perceived political opponents. The Court should reject that disturbing vision of presidential power.

       The powers of the presidency do not include a free pass to violate the Constitution when a

president purports to be acting in “non-sovereign” capacities. Even when the government acts as

an employer or proprietor, it is constrained by the Constitution. The President thus cannot force

public employees to “surrender all their First Amendment rights by reason of their employment,”

or otherwise make employment decisions on constitutionally proscribed bases.            Garcetti v.

Ceballos, 547 U.S. 410, 417 (2006); see, e.g., O’Hare Trucking Serv., Inc. v. City of Northlake,

518 U.S. 712, 717 (1996). He cannot invoke the government’s role as purchaser to evade those

same restrictions when making contracting decisions. See O’Hare, 518 U.S. at 721-22; Umbehr,

518 U.S. at 674-75; see also USAID, 570 U.S. at 214-15 (government may not “leverage funding”

to federal funding recipients “to regulate speech outside the contours of the program itself”). And

he cannot act as landlord to bar individuals from public buildings for reasons offensive to the

Constitution. See, e.g., Rosenberger, 515 U.S. at 829-30. Any other result would pose an

existential threat to our system of ordered liberty, allowing the federal government to use its vast

reach as the nation’s largest employer, largest purchaser, and largest landlord to run roughshod

over the rights and liberties of American citizens.

       To be sure, when making ordinary employment or contracting decisions, the government

may invoke an “interest in achieving its goals as effectively and efficiently as possible” as a

“significant” interest for courts to consider. Umbehr, 518 U.S. at 676. But the Order provides no

basis whatsoever for such an argument. It does not—because it could not—assert that federal

contracting would be more efficient if contractors could no longer work with Susman, or that the

government would function better if it were restricted from hiring or engaging with Susman

employees.



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       Defendants now argue that “[i]t is inefficient for Federal funds to ultimately flow into the

coffers of” a firm that “has proudly engaged (and appears to continue to engage) in racial

discrimination.” Mot. 21-22. That outrageous smear should be rejected. Putting aside that the

predicate accusation of racial discrimination is false, see supra at pp. 17-18, those purported

“policy reasons” are “nowhere to be found” in the Order, Dep’t of Homeland Sec. v. Regents of

Univ. of Ca., 591 U.S. 1, 22 (2020)—and an unadjudicated allegation of discrimination against

Susman can hardly justify terminating the contracts of Susman’s clients. Defendants’ argument

thus “can be viewed only as [an] impermissible post hoc rationalization[].” Id. This Order is

exactly what it appears to be: unconstitutional retaliation for Susman’s advocacy. See, e.g., Vullo,

602 U.S. at 196 (government cannot exercise otherwise legitimate functions “in order to punish or

suppress . . . protected expression”); Janus v. AFSCME, Council 31, 585 U.S. 878, 907 (2018).

       For similar reasons, Defendants are wrong that the Order cannot constitute a sanction or

punishment just because it applies to contracting and employment decisions. Unlike a typical

contracting or employment policy, the Order is a focused effort to punish a single professional

firm. It imposes consequences to “address” Susman’s purportedly “egregious conduct,” including

sanctions applicable to all of Susman’s work with contractors, all of Susman’s engagements with

officials, and all of Susman’s employees. Id. §§ 1, 3, 5. That is punishment, plain and simple.

       Finally, Defendants’ invocation of a history of the President using contracting actions to

“advance social policy” dishonors the history it purports to invoke. Mot. 2; see id. at 16. Until

now, no President has deployed contracting orders to effect a bill-of-attainder-esque punishment

against a business that does work with federal contractors. The Order identifies no “social policy”

that such a punishment could plausibly advance. Nor does caselaw support a free-ranging

authority for the President to advance even facially legitimate policy preferences through



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contracting orders: as a statutory matter, this Circuit has required contracting orders to have “a

‘sufficiently close nexus’ to the values of providing the government an ‘economical and efficient

system for . . . procurement and supply.’” UAW-Lab. Emp. & Training Corp. v. Chao, 325 F.3d

360, 366 (D.C. Cir. 2003) (citation omitted). Other courts have struck down procurement orders

notwithstanding strong arguments that their requirements advanced presidential policy priorities.

See, e.g., Nebraska v. Su, 121 F.4th 1 (9th Cir. 2024) ($15 minimum wage for contractors);

Kentucky v. Biden, 57 F.4th 545, 552 (6th Cir. 2023) (mandatory vaccination policy). 12 And even

if Defendants could somehow show statutory authority for making contracting decisions due to

political retaliation, that would not save the Order from constitutional scrutiny—which, as the

Complaint alleges, the Order cannot survive.

IV.    THIS COURT SHOULD NOT DISMISS ANY OF THE DEFENDANTS OR
       REJECT ANY OF THE REQUESTED INJUNCTIVE AND DECLARATORY
       RELIEF

       Finally, Defendants contend that the Executive Office of the President (“EOP”) and the

United States are improper defendants, and that naming the United States is pretext for seeking

improper relief against the President. Mot. 31-35. Those arguments are meritless.

       1. EOP is a proper defendant. Defendants’ objection appears to be that EOP has multiple

offices and sub-entities. Mot. 31; see Armstrong v. Exec. Off. of the President, 90 F.3d 553, 558-

59 (D.C. Cir. 1996). But Defendants never explain why that suggests EOP is not a proper

defendant; countless other federal agencies have numerous subdivisions and are nonetheless

subject to suit. Nor does the fact that Susman named as a defendant one of EOP’s components,




12
   At a minimum, the President would need clear congressional authorization before he could use
contracting authority to sanction a law firm. See Kucana v. Holder, 558 U.S. 233, 237 (2010)
(“[s]eparation-of-powers concerns . . . caution us against reading legislation, absent clear
statement,” to give the Executive “authority to remove cases from the Judiciary’s domain”).

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the Office of Management and Budget (“OMB”), suggest that EOP could not also be named.

Plaintiffs routinely name as defendants in the same action both an agency and one of its

components. See, e.g., Texas v. ATF, No. 2:24-cv-89 (N.D. Tex. May 1, 2024) (naming ATF and

its parent agency). Armstrong, the lone case the government cites for the proposition that EOP has

multiple components, proves the point: the plaintiff there named both EOP and a component (the

National Security Council), yet the Court never suggested that EOP was not a proper defendant.

See 90 F.3d at 567.

       2. The government is likewise mistaken that the United States is not a proper defendant.

Mot. 32-33. The APA expressly authorizes naming the United States in any equitable challenge

to agency conduct, stating that “[t]he United States may be named as a defendant in any . . . action”

that (a) is brought in federal court, (b) “seek[s] relief other than money damages,” and (c)

challenges agency conduct. 5 U.S.C. § 702. Section 702 thus waives the United States’ sovereign

immunity in any suit meeting those conditions, “whether under the APA or not.” Perry Cap. LLC

v. Mnuchin, 864 F.3d 591, 620 (D.C. Cir. 2017) (quoting Trudeau v. FTC, 456 F.3d 178, 186 (D.C.

Cir. 2006)). Further, under Section 702, any case satisfying those criteria “shall not be dismissed

nor relief therein be denied on the ground that it is against the United States.” 5 U.S.C. § 702.

And Section 703 confirms that an “action for judicial review may be brought against the United

States, the agency by its official title, or the appropriate officer.” Id. § 703 (emphasis added).

       This suit undeniably satisfies Section 702’s criteria. Susman (a) sued in federal court, (b)

seeks declaratory and injunctive relief only, and (c) challenges agency conduct—specifically,

numerous agencies’ implementation of the Order. See, e.g., Compl. pp. 64-65 (Prayer for Relief).

Susman’s suit therefore “shall not be dismissed . . . on the ground that it is against the United

States.” 5 U.S.C. § 702. In fact, the statute specifically states that “a judgment or decree may be



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entered against the United States” so long as any injunctive order also “specif[ies] the Federal

officer or officers (by name or by title) . . . personally responsible for compliance.” Id. As

explained below, Susman’s proposed order includes just those specifications.

       The government’s scattershot responses misconceive governing law. The government

invokes the inapt rule that “[s]uits alleging unconstitutional action by the Government must be

brought ‘against officials,’ not against” the “‘State[]’ writ large.” Mot. 32 (alteration in original)

(quoting P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993)). By

editing the word “States” to “State[]” in that quotation, the government seeks to import principles

relating to state sovereign immunity into this altogether different scenario. For States that have

not waived their sovereign immunity, prospective relief ordinarily may be sought against only

state officials, not against state agencies or States themselves. See Ex parte Young, 209 U.S. 123,

149-56 (1908). But that doctrine has no relevance to suits against the United States because

Congress has unequivocally waived the United States’ sovereign immunity with respect to suits

seeking prospective relief. 5 U.S.C. § 702; see Perry Cap., 864 F.3d at 620. This is such a suit.13

       In a similar vein, the government misconstrues Section 702 to argue that sovereign

immunity precludes agencies or officials not named in the complaint from being bound by an

injunction. Mot. 33. Section 702 provides that when the United States is sued, an injunctive

order—as opposed to the complaint—must “specify the Federal officer or officers . . . personally

responsible for compliance.” 5 U.S.C. § 702. Susman’s proposed order accordingly specifies the

federal officials who would be bound by a judgment against the United States. See Proposed Order




13
  The government elliptically suggests that Armstrong v. Exceptional Child Center, Inc., 575 U.S.
320 (2015), holds that principles governing suits against state officials apply wholesale to suits
against the federal government. Mot. 32. That misreads Armstrong, which observes only that
federal courts may enjoin both state and federal officials. See 575 U.S. at 326-27.

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6-14 (Appendix A); see also Fed. R. Civ. P. 65(d)(2).

       The government also briefly asserts that “[n]o cause of action exists against” the United

States. Mot. 33. That is once again wrong. Susman has a well-established cause of action in

equity to challenge unconstitutional conduct by federal agencies. See, e.g., Armstrong, 575 U.S.

at 326-27; Trudeau, 456 F.3d at 186. And Congress could hardly have been clearer that when a

plaintiff brings an action challenging agency conduct, “[t]he United States may be named as a

defendant in any such action.” 5 U.S.C. § 702; see id. § 703 (“[T]he action for judicial review

may be brought against the United States.”).

       3. The government also is mistaken that the Complaint “nam[es] the United States as

defendant to seek to dodge the well-settled prohibition against courts enjoining the President.”

Mot. 33. The United States “is included as a Defendant to ensure that the relief ordered by the

Court will apply . . . to any federal agencies that are not specifically listed as defendants.” Compl.

¶ 79. To reiterate, Congress and this Court have made clear that injunctive relief can be entered

against the United States. See 5 U.S.C. §702; see also, e.g., Lederman v. United States, 131 F.

Supp. 2d 46, 63-64 (D.D.C. 2001), aff’d and injunction expanded, 291 F.3d 36, 48 (D.C. Cir.

2002). And to the extent that naming the United States and permitting injunctive relief to run

against the United States when the President has directed impermissible government-wide actions

obviates the need to enjoin the President himself, that is far from a “dodge,” but rather a practice

that facilitates respect for a coordinate branch of government.

       Indeed, Defendants’ logic suggests that this Court should be barred from enjoining not only

the United States but also lower-level federal officials whenever doing so would have the effect of

restraining presidential policies. See Mot. 33-35. That position is untenable and foreclosed by

precedent. The Supreme Court, for instance, has time and again reviewed constitutional challenges



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to presidential proclamations—and it has recognized that even though a plaintiff may not enjoin

the President, he may obtain the same effective relief by prohibiting a lower-level official from

carrying out the President’s policy. See, e.g., Trump v. Hawaii, 585 U.S. 667, 682-83 (2018);

Youngstown, 343 U.S. at 582; Franklin v. Massachusetts, 505 U.S. 788, 803 (1992). Awarding

Susman effective relief against the President’s attempt to retaliate against it by ordering relief

against the United States, its agencies, and officials would be entirely consistent with longstanding

remedial and separation-of-powers principles. 14

       4. Finally, if the Court agrees that relief is warranted, Susman respectfully requests that

the Court enter a detailed remedial order along the lines of Susman’s proposal to ensure the

government’s compliance. Unfortunately, this request is necessary because of the government’s

track record of compliance with TROs entered in cases brought by other law firms against

analogous executive orders. See, e.g., Memorandum and Order at 4, Perkins Coie v. DOJ, No. 25-

cv-716 (D.D.C. Apr. 25, 2025), ECF No. 173 (“This is not the first instance in this case that has

raised the potential specter of noncompliance.”).

       In Jenner, for instance, as of the time that Jenner filed its motion for summary judgment,

“the Department of Justice had not yet complied with the requirement in the TRO that non-

defendant agencies receive notice of the TRO specifically from Attorney General Pamela Bondi



14
   The government makes the unsupported suggestion that Susman lacks “any cognizable injury
traceable to” agencies not named in the complaint. Mot. 35. But Susman plainly has standing to
seek declaratory and injunctive relief from each federal agency subject to the Order because each
agency’s implementation of the Order causes Susman cognizable injury. See, e.g., supra at pp. 4-
9; Memorandum and Order at 11, Perkins Coie v. DOJ, No. 25-cv-716 (D.D.C. Apr. 25, 2025),
ECF No. 173 (“[E]very Executive branch department, agency and entity subject to [the Perkins
Order] shares responsibility for implementing this presidential directive.”). And the government
gives no reason why a plaintiff challenging an Executive Order that conscripts the full might of
government must name every last federal agency. In all events, the government does not contest
that Susman has standing to seek injunctive relief against the numerous agencies and agency heads
that the Complaint names as defendants, as well as against the United States.

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and Office of Management and Budget Director, Russell Vought.” Memorandum of Law in

Support of Motion for Summary Judgment at 14 n.15, Jenner & Block v. DOJ, No. 25-cv-916

(D.D.C. Apr. 8, 2025), ECF No. 19-1. Once that notice was finally sent, it tacitly instructed the

non-defendant agencies to ignore the TRO, referring to “local district judge[s]” who have “yet

again invaded the policy-making and free speech prerogatives of the executive branch,” and

declaring that the Jenner Order “was necessary policy” because Jenner is “committed to the

weaponization of justice, discrimination on the basis of race, radical gender ideology, and other

anti-American pursuits.” Status Report, Ex. 1, Jenner & Block v. DOJ, No. 25-cv-916 (D.D.C.

Apr. 8, 2025), ECF No. 21-1. In guidance issued after the Perkins TRO, the government likewise

reiterated that it “reserves the right to take all necessary and legal actions in response to the

‘dishonest and dangerous’ conduct of Perkins Coie.” Status Report, Att., Perkins Coie v. DOJ,

No. 25-cv-716 (D.D.C. Mar. 20, 2025), ECF No. 32-1.

       To be sure, Susman is not aware of comparable issues here since this Court issued its TRO.

See Status Report, Att., ECF No. 28-1. But that is no doubt due in part to Susman’s and the other

firms’ sustained efforts in these cases to ensure government compliance with court orders. To that

end, when this Court rules on the merits, the Court should enter a detailed order along the lines of

Susman’s proposed order. Such an order will confirm what the government must do to remedy its

flagrantly unconstitutional conduct, and it will preempt claims of remedial ambiguity on the part

of the government. By contrast, entering a generic order would invite the government to test the

limits of the relief that this Court deems necessary.

                                         CONCLUSION

       The government’s motion to dismiss should be denied.




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Dated: April 30, 2025              Respectfully submitted,


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